Case 3:19-bk-30822        Doc 120    Filed 10/25/19 Entered 10/25/19 12:32:00      Desc Main
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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.

 IT IS SO ORDERED.




 Dated: October 25, 2019




 ________________________________________________________________
                             UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION AT DAYTON


 In re: TAGNETICS INC.,
                                                  Case No.   19‐30822

                                                  Judge Humphrey
                                                  Chapter 7




    Order Fixing Date for Filing Application for Attorney Fees as Compensatory Damages
                                 and Ordering Other Matters

        In accordance with the court’s concurrently entered Order Granting in Part Tagnetics’
 Motion to Enforce Settlement Agreement, Tagnetics shall have 14 days from the entry of this
 order to file an application seeking attorney fees as compensatory damages. Counsel for
 Tagnetics shall serve any such application on each remaining petitioning creditor at each
 such creditor’s designated email address and by overnight mail. The remaining petitioning
 creditors shall have 14 days from the filing and service of the application to file any
 response. Counsel for Tagnetics will receive any response filed by the petitioning creditors
 when the response is placed on the docket by the Clerk.

        IT IS SO ORDERED.
Case 3:19-bk-30822       Doc 120     Filed 10/25/19 Entered 10/25/19 12:32:00      Desc Main
                                    Document      Page 2 of 2




 Copies to:

 All Creditors and Parties in Interest

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 Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130




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